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FoR THE wEsTERN DISTRICT oF TENNESSEE ` ""H “‘2 P[.j L,_, w
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ALMA ROBINSON,
Plaintiff,
vs.

No. 04-2333 D/V

FIRST HORIZON EQUITY LENDING,

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Defendant.

 

ORDER AWARDING ATTORNEY FEES AND EXPENSES TO DEFENDANT FOR
AMOUNTS INCURRED IN PREPARING MOTION TO COMPEL

 

Before the court is the Affidavit of Craig A. Cowart, counsel
for defendant, filed February 18, 2005, in compliance with the
court's February 9, 2005 order granting defendant's notion to
compel and awarding attorney fees and expenses.

The Affidavit sets forth attorney fees in the total amount of
$1,075.00, including statements of the hourly rates charged by the
attorneys involved and nature of legal services rendered on
defendant's behalf with respect to the nmtion to compel filed
against the plaintiff, Alma Robinson.

The court finds the services rendered, the time spent, the
hourly rates, and the total attorneys fees to be reasonable.
Accordingly, pursuant to Federal Rule of Civil Procedure
37(a)(4)(A), the plaintiff, Alma Robinson, is ordered to pay the

defendant the total sum of $1,075.00, within thirty (30) days of

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with Rule 56 and{or 79{3) FRCP on 2 §:_ZS @

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the date of entry of this order for expenses and attorney fees
incurred in preparing the motion to compel initial disclosures and
discovery responses.

IT IS SO ORDERED this 2nd day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02333 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

